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               Exhibit 8
Case 4:20-cv-10211-SDD-RSW ECF No. 9-8, PageID.157 Filed 01/28/20 Page 2 of 5




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN


                                               NO. 19-13341
Priorities USA, Rise, Inc., and the
Detroit/Downriver Chapter of the A.
                                               JUDGE MARK A GOLDSMITH
Philip Randolph Institute,

             Plaintiffs,                       MAGISTRATE R. STEVEN
                                               WHALEN
v.

Dana Nessel, in her official capacity as       DECLARATION OF NSE UFOT
Attorney General of the State of               IN SUPPORT OF PLAINTIFFS’
Michigan,                                            MOTION FOR A
                                                   PRELIMINARY AND
             Defendant.
                                                PERMANENT INJUNCTION



       I, Nse Ufot, declare as follows:

       1.    My name is Nse Ufot. I am currently the Executive Director of the New

Georgia Project Action Fund.

       2.    The New Georgia Project Action Fun is a 501(c)(4) nonprofit. Its

mission is to build political power within the New American Majority—people of

color, young people aged 18 to 29 years old, and unmarried women—through civic

and voter engagement. In particular, we focus on mobilizing underrepresented and

underserved communities of color.
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Case 4:20-cv-10211-SDD-RSW ECF No. 9-8, PageID.160 Filed 01/28/20 Page 5 of 5
